                Case 3:22-cr-05139-DGE Document 36-1 Filed 08/29/23 Page 1 of 1




 1                                                            CHIEF JUDGE DAVID G. ESTUDILLO
 2
 3
 4
                                 UNITED STATES DISTRICT COURT
 5
                                WESTERN DISTRICT OF WASHINGTON
 6                                        AT TACOMA

 7
     UNITED STATES OF AMERICA,                             ) No. CR22-5139-DGE
 8                                                         )
                        Plaintiff,                         )
 9                                                         ) DECLARATION OF MR. DEBORBA
                   v.                                      )
10                                                         )
     JOÃO RICARDO DEBORBA,                                 )
11                                                         )
                        Defendant.                         )
12                                                         )

13             I, João Ricardo DeBorba, hereby declare under penalty of perjury that:

14   1.        I am the defendant in this case.

15   2.        I have lived in the United States for over two decades, most of my adult life.

16   3.        I have four children, who are all U.S. citizens, and I have worked hard to support

17   my family.

18   4.        I have also been involved in my community, particularly in my church.

19   5.        I love the United States and would formally swear my allegiance if allowed the

20   opportunity to do so.

21
22             DATED this _______
                           29th day of _______________,
                                        August            23
                                                        20___.

23
24                                                        _______________________________

25                                                        João Ricardo DeBorba

26

                                                                        FEDERAL PUBLIC DEFENDER
                                                                             1331 Broadway, Suite 400
          (United States v. DeBorba, CR22-5139-DGE) - 1                            Tacoma, WA 98402
                                                                                       (253) 593-6710
